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:N THE UNITED sTATEs DISTRICT coURT
FoR THE wESTERN DISTRICT oF TENNESSEE 05AU§} AH 5:52
wEsTERN DIvIsION

T}Mif£ M GOULD
C!.EHK. US` D“`l"'*»CT COURT

FRANK w. LING, M.D, ET AL., W®GF§ ?BE

Plaintiffs,
vs. No. 04-2484-Map

HENRY G. HERROD, M.D., ET AL.,

Defendants.

 

ORDER AMENDING SCHEDULE

 

Pursuant to defendants' July 14, 2005, motion to amend the
schedule in this matter, the court held a status conference on
July 27, 2005. Attending on behalf of the plaintiffs was Don
Donati. Participating on behalf of the defendants was Nancy
Maddox. For good cause shown, the court grants the motion and

amends the scheduling order as follows:

l. The deadline for completing discovery is October 31,
2005.
2. The deadline for filing potentially dispositive motions

is December 15, 2005.

3. The parties will submit a proposed joint pretrial order
by 5:00 p.m. on February 9, 2006.

4. A pretrial conference will be held on Thursday,

February 16, 2006, at 9:00 a.m.

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5. The jury trial is reset to Monday, February 27, 2006,

at 9:30 a.m. and is expected to last 3 to 4 days.

Absent good cause, the amended schedule set by this order

will not be modified or extended.

So ORDERED this l?&day of August, 2005.

M/M_`

SAMUEL H. MAYS, JR.
U'NITED STA'I'ES DIS'I‘RICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 36 in
case 2:04-CV-02484 Was distributed by faX, mail, or direct printing on
August 23, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

